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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


   In re:

   QUORUM HEALTH CORPORATION, et al.,                    Chapter 11

                                Debtor.                  Case No. 20-10766 (BLS)


  DANIEL H. GOLDEN, AS LITIGATION
  TRUSTEE OF THE QHC LITIGATION
  TRUST, AND WILMINGTON SAVINGS
  FUND SOCIETY, FSB, SOLELY IN ITS                       Adv. Pro. No. 21-51190 (BLS)
  CAPACITY AS INDENTURE TRUSTEE,

                              Plaintiffs,

       v.

  COMMUNITY HEALTH SYSTEMS, INC.;
  CHS/COMMUNITY HEALTH SYSTEMS,
  INC.; REVENUE CYCLE SERVICE CENTER,
  LLC; CHSPSC, LLC; PROFESSIONAL
  ACCOUNT SERVICES, INC.; PHYSICIAN
  PRACTICE SUPPORT, LLC; ELIGIBILITY
  SCREENING SERVICES, LLC; W. LARRY
  CASH; RACHEL SEIFERT; ADAM                             Ref. Docket No. 43
  FEINSTEIN; AND CREDIT SUISSE
  SECURITIES (USA) LLC,

                              Defendants.


            NOTICE OF COMPLETION OF BRIEFING ON MOTION TO DISMISS

       PLEASE TAKE NOTICE THAT briefing is complete on Defendants Community Health

Systems, Inc., CHS/Community Health Systems, Inc., Revenue Cycle Service Center, LLC,

CHSPSC, LLC, Professional Account Services, Inc., Physician Practice Support, LLC, Eligibility

Screening Services, LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein’s Motion to Dismiss

[Adv. Dkt. No. 43] (the “Motion to Dismiss”) filed on January 14, 2022. The following pleadings
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are relevant to the Court’s consideration of the Motion to Dismiss and will be delivered to

Chambers:

1.    Complaint [Adv. Dkt. No. 1, filed October 25, 2021];

2.    Defendants Community Health Systems, Inc., CHS/Community Health Systems, Inc.,
      Revenue Cycle Service Center, LLC, CHSPSC, LLC, Professional Account Services, Inc.,
      Physician Practice Support, LLC, Eligibility Screening Services, LLC, W. Larry Cash,
      Rachel Seifert, and Adam Feinstein’s Motion to Dismiss [Adv. Dkt. No. 43, filed Jan. 14,
      2022];

3.    Sealed Memorandum in Support of Defendants Community Health Systems, Inc.,
      CHS/Community Health Systems, Inc., Revenue Cycle Service Center, LLC, CHSPSC,
      LLC, Professional Account Services, Inc., Physician Practice Support, LLC, Eligibility
      Screening Services, LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein’s Motion to
      Dismiss [Adv. Dkt. No.. 44, filed Jan. 14, 2022];

4.    Sealed Declaration of Gary A. Orseck in Support of Memorandum in Support of
      Defendants Community Health Systems, Inc., CHS/Community Health Systems, Inc.,
      Revenue Cycle Service Center, LLC, CHSPSC, LLC, Professional Account Services, Inc.,
      Physician Practice Support, LLC, Eligibility Screening Services, LLC, W. Larry Cash,
      Rachel Seifert, and Adam Feinstein’s Motion to Dismiss [Adv. Dkt. No. 45, Jan. 14, 2022];

5.    Brief of Plaintiffs Daniel H. Golden, as Litigation Trustee of the QHC Litigation Trust, and
      Wilmington Savings Fund Society, FSB, Solely in Its Capacity as Indenture Trustee, in
      Opposition to Motions to Dismiss [Adv. Dkt. No. 68, filed Apr. 1, 2022];

6.    Reply Brief in Support of Defendants Community Health Systems, Inc., CHS/Community
      Health Systems, Inc., Revenue Cycle Service Center, LLC, CHSPSC, LLC, Professional
      Account Services, Inc., Physician Practice Support, LLC, Eligibility Screening Services,
      LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein’s Motion to Dismiss [Adv. Dkt.
      No. 84, filed May 2, 2022]; and

7.    Joint Request for Oral Argument in Connection with Defendants’ Motions to Dismiss
      [Adv. Dkt. No. 89, filed May 9, 2022].




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Date: May 11, 2022                             Respectfully submitted,


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Services, Inc., Physician Practice Support,    Inc., Physician Practice Support, LLC,
LLC, Eligibility Screening Services, LLC, W.   Eligibility Screening Services, LLC, W. Larry
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